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11   John Doe 1, John Doe 2, and John Doe 3

12
13                                UNITED STATES DISTRICT COURT
                                      DISTRICT OF ARIZONA
14
15   John Doe 1, an individual; John Doe 2, an
     individual; and John Doe 3, an individual;   Case No. 2:15-cv-01768-DJH
16
                    Plaintiffs,                   NOTICE OF DISMISSAL
17
18          v.

19   GoDaddy.com, LLC, a Delaware
20   corporation; Amazon Web Services, Inc.,
     a Delaware corporation; John Roe 1, d/b/a
21   <ashleymadisonpowersearch.com> and
     <adulterysearch.com>; John Roe 2, d/b/a
22   <ashleymadisoninvestigations.com>; John
23   Roe 3, d/b/a <greyhatpro.com>; and Roes
     4–20, inclusive,
24
25                  Defendants.

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     Case No. 2:15-cv-01768-DJH                     NOTICE OF DISMISSAL
         Case 2:15-cv-01768-DJH Document 25 Filed 12/14/15 Page 2 of 2



 1          NOTICE IS HEREBY GIVEN that, pursuant to Federal Rule of Civil Procedure
 2   41(a)(1)(A)(i), Plaintiffs, by and through their undersigned counsel, hereby voluntarily
 3   dismiss without prejudice all claims in the above-captioned action.
 4
 5   Respectfully submitted,
 6   DATED: December 14, 2015                       KRONENBERGER ROSENFELD, LLP
 7
                                                    By:     s/ Karl S. Kronenberger
 8
                                                                Karl S. Kronenberger
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                                                    Attorneys for Plaintiffs
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     Case No. 2:15-cv-01768-DJH                           NOTICE OF DISMISSAL
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